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 1 BENJAMIN M. SADUN (287533)
 2 benjamin.sadun@dechert.com
   DECHERT LLP
 3 US Bank Tower, 633 West 5th Street,
 4 Suite 4900
   Los Angeles, CA 90071-2013
 5 Phone: (213) 808-5721; Fax: (213) 808-5760
 6
   KATHLEEN N. MASSEY (admitted pro hac vice)
 7 kathleen.massey@dechert.com
 8 MARK S. CHEFFO (pro hac vice forthcoming)
   mark.cheffo@dechert.com
 9 Three Bryant Park
10 1095 Avenue of the Americas
   New York, NY 10036
11 Phone: (212) 698-3500; Fax: (212) 698 3599
12
   Attorneys for Defendants
13 MINDGEEK USA INCORPORATED,
14 MINDGEEK S.A.R.L., MG FREESITES,
   LTD (D/B/A PORNHUB), MG FREESITES II,
15 LTD, MG CONTENT RT LIMITED,
16 AND 9219- 1568 QUEBEC, INC. (D/B/A MINDGEEK)
17                       UNITED STATES DISTRICT COURT
18                      CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
19
   JANE DOE on behalf of herself and all        CASE NO. 8:21-CV-00338-CJC-ADS
20 other similarly situated,
                                                Judicial Officer:   Cormac J. Carney
21              Plaintiffs,
                                                MEMORANDUM OF POINTS AND
22        v.                                    AUTHORITIES IN SUPPORT OF
                                                DEFENDANTS’ MOTION FOR
23 MINDGEEK USA INCORPORATED,                   RECONSIDERATION OF THE
                                                ORDER DENYING DEFENDANTS’
   MINDGEEK S.A.R.L., MG                        MOTION TO DISMISS OR, IN THE
24
   FREESITES, LTD (D/B/A                        ALTERNATIVE, FOR § 1292(b)
25 PORNHUB), MG FREESITES II, LTD,              CERTIFICATION
   MG CONTENT RT LIMITED, AND
26
   9219- 1568 QUEBEC, INC. (D/B/A               Date:      November 1, 2021
27 MINDGEEK),                                   Time:      1:30 p.m.
28                                              Courtroom: 9B
                 Defendants.
                                                                     CASE NO. 8:21-CV-00338
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 1         Defendants MindGeek USA Inc., MindGeek S.à.r.l., MG Freesites Ltd (d/b/a
 2 Pornhub), MG Freesites II Ltd., MG Content RT Ltd, and 9219-1568 Quebec Inc.,
 3 (collectively “Defendants”) respectfully submit this memorandum in support of their
 4 motion for reconsideration of the Court’s September 3, 2021 Order denying in
 5 substantial part Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint
 6 [Dkt. 66] (“Order”), pursuant to Local Civil Rule 7-18. In the alternative, Defendants
 7 move for certification of the Order for interlocutory appeal, pursuant to 28 U.S.C. §
 8 1292(b).
 9                                   INTRODUCTION
10         Since the Court’s ruling on September 3, 2021, three significant legal
11 developments have occurred, including the wholesale modification of two key district
12 court opinions that the Court cited extensively in its Order. Defendants respectfully
13 submit that these modifications warrant reconsideration and modification of the
14 Court’s analysis of Ninth Circuit law regarding 47 U.S.C. § 230 (“Section 230”) and
15 the exception to Section 230 created by the 2018 Allow States to Fight Online Sex
16 Trafficking Act (“FOSTA”). Pub. L. No. 115-164, § 5, 132 Stat. 1253 (2018).
17         First, on September 16, 2021, the magistrate judge presiding over M.L. v.
18 craigslist, Inc.—which this Court described as “remarkably like” this case (Order at
19 19)—issued a new Report and Recommendation revisiting its prior ruling denying
20 Section 230 immunity in light of the Ninth Circuit’s recent opinion in Gonzalez v.
21 Google, LLC, 2 F.4th 871, 887 (9th Cir. 2021). Based in large part on the M.L court’s
22 prior analysis, this Court concluded that the claims against Defendants did not fall
23 within Section 230 immunity for websites. Order at 18-21. M.L. has since revisited
24 that issue and has now concluded that the majority of the claims against craigslist are,
25 in fact, barred by Section 230 because the plaintiff’s allegations that craigslist
26 encouraged and knowingly profited from trafficking content “fail[ed] to allege that
27 craigslist materially contributed to the creation of the illegal content.” See Rpt. &
28 Rec., M.L. v. craigslist Inc., No. 3:19-cv-06153, Dkt. 225 at 12-13 (W.D. Wash. Sept.
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 1 16, 2021) (“M.L. III”) (Decl. of Benjamin M. Sadun in Support of Mot. for
 2 Reconsideration of the Order Denying Defendants’ Mot. to Dismiss or, in the
 3 Alternative, Pet. for § 1292(b) Certification (“Sadun Decl.”) Ex. A).1
 4          Second, on September 8, 2021, the Northern District of California reconsidered
 5 the pertinent portions of its opinion in J.B. v. G6 Hosp., LLC (J.B. I), 2020 WL
 6 4901196 (N.D. Cal. Aug. 20, 2020), which this Court found persuasive regarding the
 7 standards for when the FOSTA exception to Section 230 immunity applied. The J.B.
 8 court initially found that a plaintiff could proceed under Section 1595 of the
 9 Trafficking Victims Protection Reauthorization Act (“TVPRA”), even if she did not
10 also satisfy the more stringent requirements of Section 1591, the criminal statute
11 prohibiting commercial sex trafficking. 47 U.S.C. § 230(e)(5)(A). Subsequently, the
12 court reconsidered this issue and, after a comprehensive analysis of the statute’s text
13 and legislative history, concluded that “the most persuasive reading of section
14 230(e)(5)(A) is that it provides an exemption from immunity for a section 1595 claim
15 if, but only if, the defendant’s conduct amounts to a violation of section 1591.” J.B.
16 v. G6 Hosp., LLC (J.B. II), 2021 WL 4079207, at *12 (N.D. Cal. Sept. 8, 2021)
17 (emphasis added).
18          Third, on September 17, 2021, Judge Selna entered a tentative order in Doe v.
19 Reddit, Inc., dismissing similar claims that the same Plaintiff in this case brought
20 against another interactive computer service or “ICS” (Reddit) for posting the same
21 videos at issue in this case.        No. 21-cv-00768-JVS-KES (C.D. Cal.) (“Reddit
22 Tentative”) (Sadun Decl. Ex. B). Judge Selna found, like the M.L. court and the Ninth
23 Circuit in Gonzalez, that Plaintiff had not alleged Reddit materially contributed to the
24 unlawful nature of the content and that, therefore, Section 230 applied to the plaintiff’s
25 claims. Id. at 12-14. He also reached the same conclusion regarding the FOSTA
26
     1
27  Objections to this report and recommendation are currently due on October 21, 2021.
   M.L. v. craigslist Inc., No. 19-cv-06153, Order Granting Relief from Deadlines Dkt.
28 227 (W.D. Wash. Sept. 16, 2021).
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 1 exception to Section 230 as did the courts in J.B. II and Doe v. Kik Interactive, Inc.,
 2 482 F. Supp. 3d 1242, 1249 (S.D. Fla. 2020), namely that FOSTA provides an
 3 exception to Section 230 “‘if, but only if, the defendant’s conduct amounts to a
 4 violation of section 1591.’” Reddit Tentative at 11 (quoting J.B.II).
 5         These new opinions warrant reconsideration of the Court’s Order. While this
 6 Court is, of course, not bound by a sister court’s opinion, this Court previously found
 7 the prior M.L. and J.B. decisions to be highly persuasive. Logic dictates that if the
 8 prior decisions were persuasive, this Court should reconsider its Order in light of the
 9 new decisions in M.L. III and J.B. II. Likewise, the Reddit Tentative provides further
10 guidance as to the implications of the Ninth Circuit’s recent ruling in Gonzalez and
11 the emerging consensus regarding the FOSTA requirements.
12         Should the Court be disinclined to reconsider its Order, Defendants request in
13 the alternative that the Court certify the Order to the Ninth Circuit for interlocutory
14 review pursuant to 28 U.S.C. § 1292(b). Certification is appropriate where, as here,
15 (1) the order involves controlling questions of law; (2) there is substantial ground for
16 difference of opinion; and (3) immediate appeal may materially advance the
17 termination of the litigation. See 28 U.S.C. § 1292(b). These requirements are readily
18 met here. Whether immunity under Section 230 applies is a quintessential controlling
19 question of law upon which courts in this circuit have reached conflicting conclusion.
20 Reddit Tentative at 11 (listing cases in conflict on FOSTA requirements). And early
21 appellate review is likely to advance the ultimate determination of the case and
22 prevent the waste of judicial resources. See Jones v. Dirty World Ent. Recordings
23 LLC, 755 F.3d 398, 417 n.4 (6th Cir. 2014) (noting that “determinations of immunity
24 under the CDA should be resolved at an earlier stage of litigation” and that
25 “[c]ertification of the interlocutory appeal sought by [defendants] could have obviated
26 the need for … trial”). Accordingly, should the Court decline to revisit its Order, it
27 should certify the issue for interlocutory review.
28
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 1                                       ARGUMENT
 2          I.     THE COURT SHOULD RECONSIDER ITS ORDER AND
 3                 DISMISS THE CASE
 4          “As long as a district court has jurisdiction over the case, then it possesses the
 5 inherent procedural power to reconsider, rescind, or modify an interlocutory order for
 6 cause seen by it to be sufficient.” City of L.A., Harbor Div. v. Santa Monica
 7 Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001); Balla v. Idaho State Bd. Of
 8 Corrections, 869 F.2d 461, 465 (9th Cir. 1989) (“Courts have inherent power to
 9 modify their interlocutory orders before entering a final judgment.”). In this district,
10 reconsideration is proper on the grounds of, inter alia, “the emergence of new material
11 facts or a change of law occurring after the Order was entered.” LR 7-18.2
12          This standard is easily met in this case. M.L. III and J.B. II represent reversals
13 of two decisions that are central to the Court’s Order. And the Reddit Tentative further
14 raises serious questions regarding Section 230 immunity and whether Plaintiff met
15 the requirements of the FOSTA exception.                   Under these circumstances,
16 reconsideration is both appropriate and sound jurisprudence. Courts can and should
17 reconsider prior interlocutory opinions if they become convinced that the earlier
18 ruling was incorrect, see Hudson Specialty Ins. Co. v. Snappy Slappy LLC, 2019 WL
19 1938801, at *1 (M.D. Ga. May 1, 2019), and thus “avoid the potential for further
20 issues at a later point in th[e] proceeding[s].” Reilly v. Solar, 2021 WL 248872, at *3
21
22   2
       Under Local Rule 7-18, motions for reconsideration are generally required to be
23   made within fourteen days after the relevant order has been entered. However, the
     rule allows motions to be made outside of this timeframe where good cause is
24   shown. Good cause exists in this case. The M.L. III and Reddit Tentative opinions
25   were not even issued until September 16 and 17, respectively. Indeed, M.L. III and
     the Reddit Tentative are not yet final decisions. Those opinions, along with J.B. II,
26   constitute three decisions in the span of a few weeks signaling a clear trend by courts
27   within the Ninth Circuit that collectively warrant reconsideration. In any event, under
     settled Ninth Circuit law, the Court always has the inherent authority to reconsider its
28   prior interlocutory rulings before the entry of a final judgment.
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  1 (D.N.J. Jan. 26, 2021); cf. In re Anthanassious, 418 F. App’x 91, 96 (3d Cir. 2011)
  2 (“[A] trial ‘judge convinced that an earlier ruling was wrong has, must have, authority
  3 to reconsider and rectify the error.’”) (citation omitted)).
  4               A.     The Court’s Decision in M.L. III Confirms that Defendants
  5                      Are Not “Content Creators” and Are Entitled to Section 230
  6                      Immunity.
  7         Section 230 applies where the defendant is “(1) a provider or user of an
  8 interactive computer service (2) whom a plaintiff seeks to treat … as a publisher or
  9 speaker (3) of information provided by another information content provider.” M.L.
 10 III at 6 (indirectly quoting Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093,
 11 1097 (9th Cir. 2019)).       The Court’s Order acknowledged that Defendants are
 12 providers of an interactive computer service, that Plaintiff’s claims sought to treat
 13 Defendants as a publisher, and that the videos at issue were created and uploaded by
 14 a third-party user (Plaintiff’s ex-boyfriend). Order at 5, 17-18. Nevertheless, the
 15 Court found that Section 230 did not apply because Plaintiff plausibly alleged that
 16 Defendants were partial “creators” of the ex-boyfriend’s videos under the “material
 17 contribution” standard set out in Roommates and its progeny. Order at 18, 20; Fair
 18 Housing Council v. Roommates.com, LLC, 521 F.3d 1157 (9th Cir. 2008) (en banc).
 19         In reaching this conclusion, the Court principally relied on M.L. v. craigslist,
 20 Inc. (M.L. I), and that court’s interpretation of Roommates. Order at 19-20 (citing
 21 M.L. I, 2020 WL 6434845, at *11-2 (W.D. Wash. Apr. 17, 2020)). But as M.L. III
 22 observed, the Ninth Circuit’s more recent decision in Gonzalez (which post-dated
 23 M.L. I) clarified that the circumstances under which Roommates requires a court to
 24 find that an ICS is a “content creator” are narrow. M.L. III at 11-12. M.L. III noted
 25 that under Gonzalez a website loses Section 230 immunity only when it makes a
 26 “material contribution” to the “creation or development” of the content itself. M.L.
 27 III at 7 (citing Gonzalez, 2 F.4th at 892) (emphasis added). “A website does not
 28 materially contribute to unlawful content by merely augmenting the content generally
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  1 or taking steps necessary to display the allegedly illegal content.” Id. “Rather, a
  2 ‘material contribution’ means that the website materially contributed to the content’s
  3 alleged unlawfulness.” Id. In other words, the ICS must be responsible for “what
  4 makes the content itself illegal.” M.L. III at 25 (citing Gonzalez, 2 F.4th at 893)
  5 (emphasis added).
  6         Having set forth these general principles, the M.L. III court discussed how
  7 Gonzalez distinguished and clarified Roommates. M.L. III at 12. The court observed
  8 that “[t]he website in [Roommates] required users to disclose their sex, sexual
  9 orientation, whether they had children and the traits they preferred in roommates
 10 before accessing the website” and that therefore “the website was designed in a
 11 manner to encourage users to post content that violated fair housing laws.” Id. This
 12 was different from Gonzalez where Google provided a platform (YouTube) and tools
 13 that could be used for illegal purposes, as opposed to Roommates.com which required
 14 users to post content that violated fair housing laws in order to use its website. M.L.
 15 III at 12. In other words, the very design of the website compelled users to make
 16 unlawful discriminatory statements or else the site could not be used. M.L. III
 17 recognized this crucial distinction and, consistent with the Ninth Circuit’s guidance
 18 in Gonzalez, reevaluated its earlier finding that craigslist was a content creator. M.L.
 19 III at 12.
 20         Moreover, the facts of M.L. were significantly more like Roommates than those
 21 here. In M.L. the plaintiff alleged that, among other requirements, “craigslist had a
 22 policy to blur and crop images” in a way that helped “traffickers … obscure her age
 23 and identity” as a precondition to using its erotic services section. M.L. v. craigslist,
 24 Inc. (M.L. II), 2020 WL 5494903, *1 (W.D. Wash. Sept. 11, 2020). But as M.L. III
 25 observed, while these requirements may have made craigslist an attractive website for
 26 the prostitution ring at issue because its features and requirements made prostitution
 27 more difficult to detect, those features did not contribute to the unlawfulness of the
 28 content. M.L. III at 7-8, 12. A “website does not materially contribute to unlawful
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  1 content by merely augmenting the content generally or taking steps necessary to
  2 display the allegedly illegal content.” Id. at 7 (citing Gonzalez, 2 F.4th at 892). An
  3 ICS can only be considered a creator when it “materially contributes to the
  4 unlawfulness of content, when the website is responsible for the aspect that makes
  5 the displayed content unlawful.” Id. at 7-8 (emphasis added). Craigslist’s features,
  6 therefore, may have made the illegal content easier to locate for those seeking
  7 prostitutes or made it more difficult for law enforcement to identify, but did not make
  8 the content, the advertisement of prostitutes, any more illegal or illegal in a different
  9 way. Accordingly, Section 230 immunity applied to all of Plaintiff’s claims seeking
 10 to treat craigslist as a publisher of third-party content. Id. at 9, 12-13, 24-26, 31. The
 11 magistrate judge therefore recommended dismissing plaintiff’s claims based on
 12 craigslist’s role as the publisher of the offending content while allowing similar claims
 13 to proceed against co-defendant hotels because the hotels, not being ICSs, were not
 14 eligible for Section 230 immunity. Id.
 15         Respectfully, M.L. III underscores that this Court’s analysis is out of step with
 16 Roommates, Dyroff, Gonzalez, and Kimzey v. Yelp! Inc., 836 F.3d 1263 (9th Cir.
 17 2016), which demonstrate that it was legal error for the Court to find Plaintiff
 18 adequately alleged Defendants were creators of the videos of Plaintiff created by her
 19 ex-boyfriend. And in any event, the key opinion this Court relied upon has been
 20 superseded by a contrary Report and Recommendation. See generally M.L. III. The
 21 videos of Plaintiff were illegal CSEM the moment they were created by her ex-
 22 boyfriend. Nothing Defendants did or did not do had any effect on the illegality of
 23 the content, the videos themselves, as would be required for Defendants to be
 24 transformed into content creators under Ninth Circuit precedent. Gonzalez, 2 F.4th at
 25 892; Kimzey, 836 F.3d at 1269 n.4; see also generally M.L. III.
 26         The Order identifies five allegations made by Plaintiff that are similar to the
 27 allegations in M.L. and purportedly render Defendants creators of the videos. As the
 28 M.L. court now recognizes, however, none of these allegations, even taken as true for
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  1 the purpose of a Rule 12 motion, abrogate Section 230 immunity because they do not
  2 make lawful content unlawful or unlawful content unlawful in a new way. The Order
  3 first notes that Plaintiff alleges Defendants “established guidelines for categories,
  4 tags, and titles” that Defendants direct traffickers to create and employ in order help
  5 those who are seeking CSEM locate it on Defendants’ websites. Order at 20. But site
  6 features that make illegal content easier to locate do not affect the illegality of the
  7 content itself as is necessary to abrogate Section 230 immunity. M.L. III at 7-8, 12;
  8 see also Jurin v. Google, Inc., 695 F. Supp. 2d 1117 (E.D. Cal. 2010) (use of search
  9 words); Goddard v. Google, Inc., 640 F. Supp. 2d 1193, 1197-98 (N.D. Cal. 2009);
 10 cf. Herrick v. Grindr LLC, 765 F. App’x 586, 591 (2d Cir. 2019) (ICSs “cannot be
 11 held liable for providing … tools and functionality available equally to bad actors and
 12 the [platform’s] intended users.”).
 13         Plaintiff’s remaining allegations fare no better. The second allegation is that
 14 Defendants “know that child pornography is repeatedly posted to its platform,” Order
 15 at 20, but knowing about the existence of illegal content does not affect its illegality.
 16 Section 230 immunity still applies even where “a particular tool facilitate[s] the
 17 expression of” the offending content and the “service provider knows that third parties
 18 are using such tools to create illegal content.” Goddard, 640 F. Supp. 2d at 1197-98;
 19 see also M.L. III at 12-13; Doe v. Twitter, Inc. (Twitter), 2021 WL 3675207, at *30
 20 (N.D. Cal. Aug. 19, 2021) (actual knowledge of specific underage videos on platform
 21 did not abrogate Section 230 immunity). The third allegation is that Defendants
 22 purportedly “share the proceeds of such content with traffickers Defendants have
 23 relationships with.” Order at 20. This argument was squarely rejected by the Ninth
 24 Circuit in Gonzalez, which dismissed all of the plaintiff’s claims that sought to hold
 25 Google liable as a publisher, notwithstanding the revenue sharing agreement it entered
 26 into with ISIS terrorists. 2 F.4th at 894-95; see also M.L. III at 11 (citing Gonzalez
 27 for proposition that profiting from traffickers advertisements did not abrogate Section
 28
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  1 230 immunity).3 The fourth allegation is that Defendants “use a VPN and a Tor site
  2 to anonymize web traffic, making it difficult for law enforcement to locate child
  3 pornography producers.” Order at 20. The argument that neutral website features
  4 that make a poster of third-party content harder to identify was rejected in M.L. III
  5 because making content harder to find or identify does not contribute to the illegality
  6 of the content itself. M.L. III at 7-8, 12. Fifth and finally, Plaintiff alleges that
  7 Defendants “developed a private messaging system so that traffickers can exchange
  8 child pornography on their websites and evade law enforcement.” Order at 20. Courts
  9 have repeatedly found that private messaging systems that can be used by any site
 10 user are content neutral tools that do not abrogate Section 230 protection. Reddit
 11 Tentative at 7; Dyroff, 934 F.3d at 1099; see also Fields v. Twitter, Inc., 217 F. Supp.
 12 3d 1116, 1127-29 (N.D. Cal. 2016), aff’d on other grounds, 881 F.3d 739 (9th Cir.
 13 2018); Herrick, 765 F. App’x at 590.
 14          Simply put, the actions alleged by Plaintiffs do not suffice to render Defendants
 15 “content creators” under Roommates. Gonzalez clarified that absent a showing that
 16 defendants are responsible for the aspect that makes the displayed content unlawful,
 17 Section 230 immunity applies. None of Plaintiff’s allegations meet that standard. The
 18 videos were created by Plaintiff’s ex-boyfriend, and there is no allegation in the
 19 Complaint that he was forced or even induced to do so by anything that Defendants
 20 did. At most, Plaintiff has alleged that Defendants created an attractive location for
 21 the posting of her ex-boyfriend’s revenge pornography. As M.L. III observed,
 22 consistent with Ninth Circuit precedent, neutral website features that make the ICS an
 23 attractive destination for lawbreakers is not enough to make the website a creator of
 24 that content; the ICS must compel or actively contribute to what makes the underlying
 25 content unlawful and the videos here were unlawful because they contained CSEM
 26 when they were made. The Court’s ruling that Section 230 does not apply to
 27   3
     In any event, there is no allegation that Defendants entered into a revenue-sharing
 28 agreement with Plaintiff’s ex-boyfriend.
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  1 Plaintiff’s claims is inconsistent with J.B., Kik Interactive, Twitter, the Reddit
  2 Tentative, and now M.L. III. The Court should reconsider its opinion as the magistrate
  3 judge in M.L. did, find that Section 230 applies to all of Plaintiff’s claims, and dismiss
  4 each of them.
  5                B.    The J.B. II Court Repudiated Its Prior Ruling That Plaintiff
  6                      Need Only Plead a Violation of 18 U.S.C. § 1595 under
  7                      FOSTA.
  8         The court in J.B. II revisited its prior ruling (J.B. I) on which the Court relied
  9 in concluding that the FOSTA exception to Section 230 immunity only required
 10 Plaintiff to plead a violation of Section 1595. J.B. II, 2021 WL 4079207, at *12. The
 11 allegations against craigslist in J.B. are substantially the same as those in M.L. The
 12 J.B. plaintiff alleged that she was a victim of child sex trafficking which was
 13 facilitated by craigslist’s classified advertising site. J.B. I, 2020 WL 4901196, at *1.
 14 She alleged that craigslist was generally aware that third parties used its site to
 15 advertise minors for commercial sex and “should have known that the posts of
 16 Plaintiff involved child sex trafficking” but failed to take adequate steps to verify the
 17 ages of the persons being advertised. Id. at *2. The court found that Section 230
 18 generally barred the plaintiff’s claims because the posts were authored by third
 19 parties, and craigslist’s alleged knowing toleration of illegal content did not materially
 20 contribute to the illegality of the posts. Id. at *5, 7. The court then considered whether
 21 the plaintiff adequately pleaded a TVPRA claim sufficient to trigger the FOSTA
 22 exception, holding that Section 1591’s definition of “participation in a venture”
 23 should not apply to the plaintiff’s Section 1595 claim. Id. at *8. Nonetheless, the
 24 court held that the plaintiff failed to allege sufficient participation in a venture under
 25 either standard because craigslist could not be viewed as “enter[ing] into tacit
 26 agreements with all traffickers … that use its website.” Id. at *9-10.
 27         In its Order, this Court cited the J.B. court’s participation analysis as implicitly
 28 holding that Plaintiff need only allege constructive knowledge under Section 1595 to
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  1 plead a TVPRA claim against an ICS. Order at 10. After the Order was issued,
  2 however, the J.B. court reconsidered that holding and reached the opposite
  3 conclusion: “that section 230(e)(5)(A) withdraws immunity only for claims asserting
  4 that the defendant’s own conduct amounts to a violation of section 1591,” J.B. II,
  5 2021 WL 4079207, at *4, which requires, inter alia, allegations of actual and not
  6 constructive knowledge. This revised holding was based on an extensive analysis of
  7 FOSTA’s background, text, and legislative history. Id. at *5-12. First, the J.B. court
  8 observed that the phrase “the conduct underlying the claim” refers most naturally to
  9 the defendant’s conduct; if it meant to refer to the conduct of third parties, Congress
 10 would have said “the claim arises out of” or the plaintiff is a victim of” a violation of
 11 Section 1591. Id. at *6. Second, Congress used almost identical language in
 12 subsections (B) and (C) of FOSTA, which unquestionably refer to the defendant’s
 13 own conduct. Id. (discussing 47 U.S.C. § 230(c)(5)(B) & (C)). “That Congress
 14 included nearly identical language in the same subsection, at the same time, strongly
 15 suggests that it intended to give the ‘conduct underlying’ phrases the same meaning”
 16 in all three subsections. Id. Third, the Bill’s legislative history, and especially a
 17 rejected amendment that would have exempted all Section 1595 claims from Section
 18 230 immunity, showed that Congress “reached a compromise by including a narrowed
 19 federal civil sex trafficking carve-out that requires plaintiffs to show the civil
 20 defendant’s knowing assistance, support or facilitation.” Id. at *8, 11.
 21         The J.B. court acknowledged the concern that this interpretation “would
 22 effectively write Section 1595 out of existence for websites.” Id. at *6; see also Order
 23 at *10 (raising a similar concern). But the court concluded that FOSTA’s remedial
 24 purpose was achieved by removing civil immunity for “claims that were previously
 25 barred” against websites that violate Section 1591 and that ordinary TVPRA claims
 26 remained available against an ICS for conduct not covered by Section 230. J.B. II,
 27 2021 WL 4079207, at *6. In addition, arguments about the best remedial policy could
 28
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  1 not trump “the words of the statute that was actually passed.” Id. at *7. This reasoning
  2 applies with equal force to this case, which involves the same legal question.
  3          The J.B. II court’s ruling is consistent with three other courts that have
  4 considered the issue and found that “the most persuasive reading of [FOSTA] is that
  5 it provides an exemption from immunity for a section 1595 claim if, but only if, the
  6 defendant’s conduct amounts to a violation of section 1591.” J.B. II, 2021 WL
  7 4079207, at *12 (emphasis added); accord Reddit Tentative at 11; Kik Interactive,
  8 482 F. Supp. 3d at 1251; M.L. II, 2020 WL 5494903, at *4 (agreeing “with [defendant]
  9 craigslist’s argument that FOSTA does not create an exemption for all § 1595
 10 claims”).4 This requirement is critical because Section 1591, unlike Section 1595,
 11 applies only when a defendant has “actual knowledge” of and “active participation”
 12 in the sex trafficking involving plaintiff. Kik Interactive, Inc., 482 F. Supp. 3d at
 13 1250-51. In contrast, only one other case holds that a plaintiff need only allege that
 14 an ICS violated Section 1595 to circumvent Section 230 immunity. Twitter, 2021
 15 WL 3675207, at *25.5
 16
 17
      4
 18     Defendant craigslist argued that the FOSTA exception did not apply because the
      plaintiff failed to allege that craigslist itself violated Section 1591. Defendant’s
 19   Objections to Rpt. & Rec., M.L. v. craigslist, Inc., No. 21-cv-768 [Dkt. 89] at 11. The
 20   court agreed with craigslist on the law but initially found that FOSTA was irrelevant
      because the plaintiff had adequately pleaded that Section 230 immunity did not apply
 21   to craigslist at all. M.L. II, 2020 WL 5494903, at *4. It is the latter issue that has been
 22   revisited in M.L. III.
      5
 23     This Court’s Order also cites J.C. v. Choice Hotels International, Inc., 2020 WL
      3035794, at *1 (N.D. Cal. June 5, 2020). Order at 10. That case did not involve an
 24   ICS, and thus did not implicate Section 230. Rather, it addressed whether the
 25   definition of “participation in a venture” added by FOSTA to Section 1591, see 18
      U.S.C. § 1591(e)(4), applies to all Section 1595 claims. While Defendants maintain
 26   that J.C. was wrongly decided on that issue, that holding is not relevant to the question
 27   of FOSTA’s interpretation. See Twitter, 2021 WL 3675207, at *23 (“The hotel line
      of cases, however, does not answer the question of whether the same standards apply
 28   where a civil claim is asserted under Section 1591(a)(2) against an ICS provider….”).
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  1         Plaintiff’s claims fail under this standard because she has not pleaded any
  2 plausible facts that, if proven, could show that Defendants had actual knowledge of
  3 her alleged trafficking. See 47 U.S.C. § 1591(a); Order at 9-10; Kik Interactive, 482
  4 F. Supp. 3d at 1250. The FAC does not allege, even generally, that Defendants had
  5 any actual knowledge her video was a product of trafficking until Plaintiff contacted
  6 Pornhub and the videos were removed. FAC ¶ 149. Plaintiff’s allegations that
  7 Defendants generally knew users posted CSEM to Pornhub are insufficient as a matter
  8 of law. E.g., Kik Interactive, 482 F. Supp. 3d at 1250. And while Plaintiff alleges
  9 that moderators reviewed the videos—as they review all user-generated content—
 10 FAC ¶¶ 84-86, 87, 93, 95, she does not allege anything about the nature of the videos
 11 that would have provided actual knowledge of their illegal nature. Even assuming,
 12 arguendo, that the fact the ex-boyfriend tagged one of the videos as “teen”
 13 pornography implies Plaintiff appeared “youthful” in it, see Order at 13, youthfulness
 14 is not a synonym for CSEM.
 15         In short, a majority of federal courts—which now includes a majority of courts
 16 in this Circuit—have held that FOSTA removes civil liability only where an ICS itself
 17 violates Section 1591 by knowingly participating in commercial sex trafficking. The
 18 Court’s initial Order was made in part in reliance on J.B. I and without the benefit of
 19 that court’s ruling in J.B. II. Defendants respectfully submit that this Court should
 20 reconsider its Order in light of these developments and adopt the majority
 21 interpretation reflected in J.B. II, Reddit, M.L. II, and Kik Interactive.
 22                C.    The Reddit Tentative Order Is Consistent with M.L. III and
 23                      J.B. II.
 24         Since the Court’s Order, Judge Selna issued a tentative order dismissing similar
 25 claims by the very same Plaintiff against another website (Reddit) that hosted the
 26 same videos at issue here. In Reddit, Judge Selna held that “§ 230 immunizes Reddit
 27 from many of Plaintiffs’ claims.” Reddit Tentative at 5. There, as here, Plaintiff
 28 argued that Reddit should be treated as an “information content provider” rather than
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  1 an ICS. Id. Plaintiff argued the court should find Reddit was a content creator because
  2 it did not adequately enforce its own policies regarding CSEM, because it provided
  3 “karma” rewards for subreddits featuring CSEM, because it employed a secure private
  4 messaging system that allowed for the evasion of law enforcement, that it promoted
  5 subreddits that involved CSEM, and that its moderators were poorly trained and
  6 ineffective. Id. at 6-7. While some allegations are particular to the Reddit website,
  7 they are similar to those made by Plaintiff in this case. The Court found that these
  8 allegations were insufficient “for the Court to find that Reddit is an information
  9 content provider” and they did not “show that Reddit is responsible for the illegal
 10 content on its website.” Id. at 7. Judge Selna accordingly found that Section 230
 11 applied to Plaintiff’s claims that sought to treat Reddit as a publisher or speaker of
 12 information provided by other content providers. Id. at 9-10.
 13         In the Reddit Tentative, Judge Selna also addressed whether the FOSTA
 14 exception to Section 230 immunity required Plaintiffs to plead that defendant violated
 15 Section 1591. Before this Court issued its Order, Judge Selna had stayed discovery
 16 in that case because the plaintiff had failed to state a prima facie TVPRA claim against
 17 Reddit. Doe v. Reddit, Inc., No. 21-cv-768 [Dkt. 35] at 7-8 (C.D. Cal. July 12, 2021).
 18 But that order expressed no opinion on the interpretation of FOSTA itself. Judge
 19 Selna has now addressed that issue and “agree[d] with other courts that found that
 20 ‘the most persuasive reading of section 230(e)(5)(A) is that it provides an exemption
 21 from immunity for a section 1595 claim if, but only if, the defendant’s conduct
 22 amounts to a violation of section 1591.’” Reddit Tentative at 11 (citing J.B. II, 2021
 23 WL 4079207, at *4, Kik Interactive, 482 F. Supp. 3d at 1251, and M.L. II, 2020 WL
 24 5494903, at *4) (internal quotation marks omitted).
 25                                       *     *      *
 26         The Court did not have the benefit of the rulings in M.L. III, J.B. II, and Reddit
 27 when it issued the Order. Indeed, M.L. III and J.B. II both vacated earlier decisions
 28
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  1 upon which the Court relied in reaching its rulings. Defendants accordingly believe
  2 that, under these circumstances, reconsideration of the Court’s Order is appropriate.
  3         II.   IN THE ALTERNATIVE, THIS COURT’S OPINION SHOULD
  4               BE CERTIFIED FOR INTERLOCUTORY REVIEW
  5               PURSUANT TO 28 U.S.C. § 1292(b).
  6         A district court may certify an order for interlocutory appeal where it presents
  7 an issue (1) that is a controlling question of law, upon which (2) there is a substantial
  8 ground for difference of opinion, and (3) an immediate appeal may materially advance
  9 the ultimate termination of the litigation. 28 U.S.C. § 1292(b); In re Cement Antitrust
 10 Litig., 673 F.2d 1020, 1026 (9th Cir. 1981). This case involves at least two such
 11 issues. First, whether the “material contribution” exception to Section 230 applies to
 12 websites that create an attractive forum for users to post illegal content but do not
 13 participate in creating the content itself. And second, whether the FOSTA exception
 14 to Section 230 requires only that Plaintiff allege Defendants violated Section 1595 or
 15 whether she must also plead they violated Section 1591 as well.               47 U.S.C.
 16 230(e)(5)(A). These are both pure questions of law, and their resolution would
 17 materially advance the termination of the case because they are central to the question
 18 of Defendants’ potential immunity. Indeed, courts should “resolve the question of
 19 [Section 230] immunity at the earliest possible stage of the case.” Nemet Chevrolet,
 20 Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255–58 (4th Cir. 2009) (brackets in
 21 original); see also Jones, 755 F.3d at 417 & n.4 (criticizing district court’s denial of
 22 1292(b) certification). As the Ninth Circuit held in Roommates, “section 230 must be
 23 interpreted to protect websites not merely from ultimate liability, but from having to
 24 fight costly and protracted legal battles.” Roommates, 521 F.3d at 1175. And there
 25 is substantial ground for difference of opinion because reasonable jurists could—and
 26 indeed have—reached different conclusions on them.
 27
 28
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  1                A.    The Court’s Rulings on Section 230 and FOSTA Present
  2                      Controlling Issues of Law
  3         The Court’s rulings on Section 230 and whether FOSTA requires Plaintiff to
  4 demonstrate a violation of 18 U.S.C. § 1591 involve controlling questions of law that
  5 warrant interlocutory review. The Ninth Circuit has held that “all that must be shown
  6 in order for a question to be ‘controlling’ is that resolution of the issue on appeal could
  7 materially affect the outcome of litigation in the district court.” In re Cement Antitrust
  8 Litig., 673 F.2d at 1026. This element is met when “legal issues are at the heart of
  9 [the] proposed interlocutory appeal.” Hawaii ex rel. Louie v. JP Morgan Chase &
 10 Co., 921 F. Supp. 2d 1059, 1066 (D. Haw. 2013). “Controlling questions” do not
 11 need to terminate the litigation. Milton H. Greene Archives, Inc. v. CMG Worldwide,
 12 Inc., 2008 WL 11334500, *8 (C.D. Cal. Jan. 22, 2008), aff’d sub nom. Milton H.
 13 Greene Archives, Inc. v. Marilyn Monroe LLC, 692 F.3d 983 (9th Cir. 2012). Rather,
 14 they “need only assist in avoiding protracted and expensive litigation.” Id.
 15         This case meets the standard. If the Ninth Circuit were to agree with the
 16 application of Section 230 and FOSTA as reflected in M.L. III, J.B. II, and Reddit, it
 17 would require dismissal of Plaintiff’s claims in full or, at a minimum, significantly
 18 narrow the claims at issue. A reversal on these issues accordingly meets the Ninth
 19 Circuit’s “controlling question of law” standard.
 20                B.    There is Substantial Ground For Difference of Opinion as to
 21                      the Controlling Questions of Law
 22         The second 1292(b) requirement, that “substantial ground for difference of
 23 opinion exists,” is satisfied when “reasonable jurists might disagree on an issue’s
 24 resolution, not merely where they have already disagreed.” Reese v. BP Expl. (Alaska)
 25 Inc., 643 F.3d 681, 688 (9th Cir. 2011). “Courts traditionally will find that a
 26 substantial ground for difference of opinion exists where … novel and difficult
 27 questions of first impression are presented.’” Id. (quoting Couch v. Telescope Inc.,
 28 611 F.3d 629, 633 (9th Cir. 2010)); accord, e.g., Chen v. Allstate Ins. Co., 2013 WL
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  1 3973798, at *2 (N.D. Cal. July 31, 2013); VIA Techs., Inc. v. Sonic Blue Claims, LLC,
  2 2011 WL 2437425, at *1 (N.D. Cal. June 17, 2011).                Thus, certification for
  3 interlocutory review is generally appropriate where the Ninth Circuit has not
  4 addressed the issue and there is a split of authority on a pure legal question. See, e.g.,
  5 Canela v. Costco Wholesale Corp., 2018 WL 3008532, at *2 (N.D. Cal. June 15,
  6 2018); Wishnev v. Nw. Mut. Life Ins. Co., 2016 WL 9223857, at *1 (N.D. Cal. Mar.
  7 28, 2016).
  8         With respect to the application of Section 230, this case involves an issue that
  9 has divided federal district courts. See supra Argument Part I.A. Reasonable ground
 10 for disagreement remains over the circumstances under which a website may be found
 11 to have “materially contributed” to the illegal nature of content posted by third-party
 12 users. On the one hand, this Court held that Plaintiff adequately alleged Defendants
 13 “materially contributed to the creation of [CSEM] on its platforms,” by featuring such
 14 content and associated “categories, tags, and titles,” “shar[ing] the proceeds of such
 15 content with traffickers,” and providing tools to let users upload such content
 16 anonymously. Order at 19-20. On the other hand, three other courts in this Circuit
 17 have held that similar allegations do not meet the material contribution test. M.L. III
 18 at *12-13, 25; Reddit Tentative at 12-14; J.B. I 2020 WL 4901196, at *7. Twitter and
 19 Kik Interactive also found Section 230 applied to ICSs that allegedly knowingly
 20 tolerated trafficking content on their platforms. Twitter, 2021 WL 3675207; Kik
 21 Interactive, Inc., 482 F. Supp. 3d 1242. This uncertainty is perhaps best exemplified
 22 by the M.L. court’s recent reconsideration of this issue. See supra Argument Part I.A.
 23 This Court has found that Plaintiff’s allegations are “remarkably like” those in M.L.,
 24 Order at *19, meaning that the Order and M.L. III have reached diametrically opposite
 25 results on largely similar allegations. This split of authority within the Ninth Circuit
 26 demonstrates that the legal parameters of the “material contribution” test set forth in
 27 Roommates and its progeny present a controlling question of law on which reasonable
 28
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  1 jurists can substantially differ. See Canela, 2018 WL 3008532, at *2; Wishnev, 2016
  2 WL 9223857, at *1.
  3         There is likewise a split in the case law regarding the interpretation of FOSTA’s
  4 exception to Section 230 for TVPRA claims “if the conduct underlying the claim
  5 constitutes a violation of section 1591 of that title.” 47 U.S.C. § 230(e)(5)(A). Since
  6 its enactment in 2018, no federal circuit court has interpreted this portion of FOSTA.
  7 In the absence of controlling authority, six federal district courts (including five in
  8 this Circuit) have split on the correct interpretation of this provision. Four have read
  9 it to mean that a plaintiff must allege that the defendant ICS violated Section 1591.
 10 Reddit Tentative at 11; J.B. II, 2021 WL 4079207, at *12; Kik Interactive, 482 F.
 11 Supp. 3d at 1251; M.L. II, 2020 WL 5494903, at *4. On the other hand, two courts,
 12 including this one, have required only an allegation that the ICS violated Section
 13 1595. Twitter, 2021 WL 3675207; Order at 10. Moreover, the J.B. court has already
 14 changed its mind on this issue, initially adopting the minority approach before
 15 reversing course upon a closer examination of the statute. Compare J.B. I, 2020 WL
 16 4901196, at *8 with J.B. II, 2021 WL 4079207, at *4, 12.
 17         It is clear, therefore, that the interpretation of this recent statute presents a
 18 “novel and difficult question[]” sufficient to meet the second requirement of Section
 19 1292(b). Reese, 643 F.3d at 688. Because this “pivotal question[] of law” is “not
 20 settled by controlling authority,” certification for interlocutory review by the Ninth
 21 Circuit is warranted. Chen, 2013 WL 3973798, at *2.
 22                C.    An Immediate Appeal Will Materially Advance the Ultimate
 23                      Termination of the Case.
 24         The third requirement under Section 1292(b) is also met because an immediate
 25 appeal will materially advance the ultimate termination of this case. See 28 U.S.C.
 26 § 1292(b). “This factor is linked to whether an issue of law is ‘controlling’ in that the
 27 Court should consider the effect of a reversal by the court of appeals on the
 28 management of the case.” Ass’n of Irritated Residents v. Fred Schakel Dairy, 634 F.
                                            18                        CASE NO. 8:21-CV-00338
        DEFENDANTS’ MOTION FOR RECONSIDERATION OF THE ORDER DENYING DEFENDANTS’
        MOTION TO DISMISS OR, IN THE ALTERNATIVE, PETITION FOR § 1292(B) CERTIFICATION
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                                 #:1301


  1 Supp. 2d 1081, 1092 (E.D. Cal. 2008). Interlocutory appeal of Section 230 immunity
  2 is especially appropriate because it can obviate the need for costly and burdensome
  3 litigation altogether. E.g., Jones, 755 F.3d at 405, 417 & n.4 (criticizing district
  4 court’s denial of certification); Roommates, 521 F.3d at 1175 (noting that Section 230
  5 was intended in part to prevent websites from having to fight lengthy legal battles.).
  6         “[P]articularly in class actions, an [interlocutory] appeal may be much more
  7 likely to materially advance a case’s ultimate resolution where the issue to be decided
  8 is central to the Plaintiffs’ case.” Casas v. Victoria’s Secret Stores, LLC, 2015 WL
  9 13446989, at *3 n.6 (C.D. Cal. Apr. 9, 2015). Here, the questions of whether Section
 10 230 applies as a matter of law to Plaintiff’s claims and whether Plaintiff must plead
 11 that Defendants violated 18 U.S.C. § 1591 are both central to this case. Immediate
 12 appellate review to resolve these issues would materially advance the termination of
 13 this litigation if the result is favorable to Defendants and, in any event, would provide
 14 guidance for the further conduct of the litigation of this action.
 15         Although Defendants maintain that this case raises highly individualized issues
 16 of law and fact that cannot be certified as a class action as a matter of law, the fact
 17 that it was filed as a putative class action and is still in an early stage also favors
 18 certification for interlocutory appeal. In a putative class action, a substantial waste of
 19 time and resources may be avoided through a section 1292(b) appeal if it is
 20 determined that Plaintiff’s claim is legally unsound, before class certification
 21 proceedings and before the parties incur the expense of issuing class notice, merits-
 22 related discovery on a class-wide basis, and a class trial. See, e.g., Casas, 2015 WL
 23 13446989, at *4 (granting 1292(b) motion based in part on the fact that the case was
 24 “still in the pre-certification/pleading stage”); see also Molock v. Whole Foods Mkt.
 25 Grp., Inc., 317 F. Supp. 3d 1, 6-7 (D.D.C. 2018) (granting 1292(b) motion and noting
 26 that class discovery “promise[d] to be drawn out, complex, and expensive” and that
 27 the “time and expense” involved would be “staggering”). If the Ninth Circuit were to
 28 rule in Defendants’ favor, a potentially lengthy and expensive fight over class
                                            19                        CASE NO. 8:21-CV-00338
        DEFENDANTS’ MOTION FOR RECONSIDERATION OF THE ORDER DENYING DEFENDANTS’
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  1 certification would be avoided. An interlocutory appeal in this case would thus
  2 “‘conserve judicial resources and spare the parties from possibly needless expense if
  3 it should turn out that [the] Court’s rulings are reversed,’” see Bennett v. Islamic
  4 Republic of Iran, 927 F. Supp. 2d 833, 846 & n.15 (N.D. Cal. 2013), aff’d, 799 F.3d
  5 1281 (9th Cir. 2015), and should be granted.
  6                                    CONCLUSION
  7        For the foregoing reasons, Defendants request the Court reconsider its prior
  8 rulings on Section 230 and 18 U.S.C. § 1591 and dismiss all of Plaintiff’s claims. In
  9 the alternative, the Court should certify its September 3, 2021 Order for interlocutory
 10 appeal, pursuant to 28 U.S.C. § 1292(b).
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 12
 13 DATED: September 30, 2021               DECHERT LLP
 14                                         RESPECTFULLY SUBMITTED,
 15
 16                                           /s/ Benjamin M. Sadun
 17                                         Benjamin M. Sadun
                                            Kathleen N. Massey (admitted pro hac vice)
 18                                         Mark S. Cheffo (pro hac vice forthcoming)
 19
                                            Attorneys for Defendants
 20                                         MINDGEEK USA INCORPORATED,
                                            MINDGEEK S.A.R.L., MG FREESITES,
 21                                         LTD (D/B/A PORNHUB),
                                            MG FREESITES II, LTD, MG CONTENT
 22                                         RT LIMITED, AND 9219- 1568 QUEBEC,
                                            INC. (D/B/A MINDGEEK)
 23
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 28
                                            20                        CASE NO. 8:21-CV-00338
        DEFENDANTS’ MOTION FOR RECONSIDERATION OF THE ORDER DENYING DEFENDANTS’
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